                    Case 5:25-cv-02467-EKL                   Document 7         Filed 03/18/25        Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       NorthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          California

 LIVE OAK BANKING COMPANY, a North Carolina                           )
                Corporation,                                          )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 5:25-cv-02467-EKL
                                                                      )
   TRIM TRECH DISTRIBUTION LLC, a California                          )
          Limite Liability Company, et al
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Trim Tech Distribution LLC
                                           a California Limited Liability Company
                                           1724 Ringwood Ave.
                                           San Jose, CA 95131

                                           See Attachment A for Other Defendants


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: MILLER NASH LLP
                                           Bernie Kornberg
                                           bemie.kornberg@millernash.com
                                           340 Golden Shore, Suite 450
                                           Long Beach, California 90802
                                           Telephone: 562.435.8002

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                           Signature of Clerk or Deputy Clerk
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                                        ATTACHMENT A

                                  ADDITIONAL DEFENDANTS


Bretton "Brett" Sewell, individually and as Trustee
of the Sewell Family Trust U/A Dated 8/21/03
58 Deodora Drive
Atherton, CA 94027


Trim Tech Construction, Inc. f a TT Installation
Inc., a California Corporation
1724 Ringwood Ave
San Jose, CA 95131


Christine Sewell, individually and as Trustee of the
Sewell Family Trust U/A Dated 8/21/03
58 Deodora Drive
Atherton, CA 94027


Trim Tech Holdings, LLC, a California Limited
Liability Company
1724 Ringwood Ave
San Jose, CA 95131


Mortgage Electronic Registration Systems, Inc., a
Delaware Corporation,
330 N. Brand Blvd
Glendale, CA 91203




                                                                              4914-7624-7339.1
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 Civil Action No. 5:25-cv-02467-EKL

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           0 I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           0 I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           0 I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           0 I returned the summons unexecuted because                                                                              ; or

           0 Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
